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               EXHIBIT 1
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                        EXHIBIT A TO STIPULATION AND ORDER FOR THE
                  IMAGING, PRESERVATION, AND PRODUCTION OF DOCUMENTS

               Consistent with the obligations under the “Stipulation and Order for the

       Imaging, Preservation, and Production of Documents,” I / NSM certify that:

               1. The following are all the Social Media Accounts, as defined in ¶ 2(xi)

       of the Stipulation and Order, that contain potentially relevant Documents:

       Username                   Provider/Platform     Nature of Responsive Documents on Account
       nsmarkansas@gmail.com          GMAIL / email                        unknown
       nsmvermont@gmail.com           GMAIL / email                        unknown
       nsmmaryland@gmail.com          GMAIL / email                        unknown
        nsmmsst88@gmail.com           GMAIL / email                        unknown
   nsm88southflorida@gmail.com        GMAIL / email                        unknown
          nsm88ny@gmail.com           GMAIL / email                        unknown
  nsmnc88@gmail.com                   GMAIL / email                        unknown
        nsm88bama@gmail.com           GMAIL / email                        unknown
           nsm88cinci@gmail.com       GMAIL / email                        unknown
       nsm88kansas@gmail.com          GMAIL / email                        unknown
            Minnesota@gmail.com       GMAIL / email                        unknown
     nsmwestvirginia@gmail.com        GMAIL / email                        unknown
         nsmfresno@gmail.com          GMAIL / email                        unknown
         nsmflorida@gmail.com         GMAIL / email                        unknown
     nsm88michigan@gmail.com          GMAIL / email                        unknown
     nsm88wyoming@gmail.com           GMAIL / email                        unknown
    nsm88connecticut@gmail.com        GMAIL / email                        unknown
      nsmregion9hq@gmail.com          GMAIL / email                        unknown
          r3nsm88@gmail.com           GMAIL / email                        unknown
         nsm88toledo@gmail.com        GMAIL / email                        unknown
          nsm88r5@gmail.com           GMAIL / email                        unknown
        nsm88utah@gmail.com           GMAIL / email                        unknown
      nsmalabama88@gmail.com          GMAIL / email                        unknown

               2. The following are all the Electronic Devices, as defined in ¶ 2(vi) of

       the Stipulation and Order, that I have possessed since January 1, 2017 that

       may contain any potentially relevant Documents or ESI:

          Device Type (e.g.,
                          Size (e.g., 32 GB)      Nature of Responsive Documents on Device
       iPhone 7)
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             I certify under penalty of perjury under the laws of the United States of

      America that the foregoing is true and correct.



       Executed on 10/18/2019.
                                             Submitted by the National Socialist Movement
                                         through the attorney of record.




                                                           By:    /s/ W. Edward ReBrook, IV
                                                            W. Edward ReBrook, IV (VSB 84719)
                                                            The ReBrook Law Office
                                                            6013 Clerkenwell Court
                                                            Burke, VA 22015
                                                            Mobile: 571.215.9006
                                                            Email: Edward@ReBrookLaw.com
